EXHIBIT U
                                                                                         ALSTON                                                  &    BIRD
                                                                                                                     One Atlantic                Center
                                                                                                          1201 West Peachtree Street
                                                                                                             Atlanta,           GA      30309-3424
                                                                                                       404-881-7000              |    Fax:404-881-7777


Daniel       F.        Diffley                                                                              Direct Dial:              404-881-4703                                            Email: dan              1ffle     alston.com



                                                                                                                     August            14, 2017


CONFIDENTIAL
VIA      UPS


Edmund                       A.     Normand
Normand                           Law,           PLLC
62 W. Colonial                                   Dr.

Suite 209
Orlando, Florida 32801

Re:                   Anthony Sos                          v.       State Farm                   Mutual Auto,                        Ins., No. 6:17-CV-00890-KRS (M.D.
                      Fla.)


Dear Edmund:


        State Farm has reviewed your client's claim file and the allegations    et forth in the
Amended Complaint in the above-referenced case. Based on that review, State     rm is tendering                                                                                                               F



adraft check  payable to your client in the amount of $12,151. The breakdown of  this amount is
as    follows:

         •                   Taxes   connection with the total loss claim: $2,500
                                              in

         •                   Fees incormection with the total loss claim: $400
         •                   Pre-iudgment Interest from the date of the alleged breach through Mondav August                                                                                                                           14
                             (5.17% under Fla. Stat.   55.03): $251                      §


         •                   Attorney's fees under Fla. Stat. 627.428: $9,000                                    §



                                  o  One attorney at $550 with 10 hours ($5500)
                                  o  One attorney at $350 with 10 hours ($3500)
                                        o          Use          a    multiplier of1.0:
         •                   Total: $12,151

        We believe this amount this amount represents the full value of your client's claim against
State Farm.  While we have estimated the amount of attorney's fees incurred o date, this is                                                                                                                                                    a



conservative estimate, likely in excess of the amount of attorneys' fees incugred thus far in
connection with this case. Additionally, we have likely overstated the amount þf prejudgment
interest implicated by Mr. Sos' claim.    If you have evidence that we     have understated or
underestimated any of   these amounts, State  Farm stands ready to tender those add tional sums
upon receipt of additional documentation.



Alston       &        6ird    LLP
                                                                                                                                                                                                                              www.alston.corn


Atlanta                 Beijing             Brussels            Charlotte   |
                                                                                Dallas       |
                                                                                                 Los   Angeles        |
                                                                                                                          New        York    |
                                                                                                                                                  Research   Triangle   |
                                                                                                                                                                            San   Francisco     |
                                                                                                                                                                                                    Silicon       V   lley    Washington,    D.C.
                                    |                  |
                  [
August     14, 2017
Page   2




           Please call me       if   you would like to discuss this matter.                Otherwise,   we   e   pect your client
will accept this      as   full payment        of   his claim and dismiss   his suit against      State Far      .




                                                                   Sincerely yours,




                                                                   Daniel   F.   Diffley



cc:    James Cash (via        U.S.     Mail)
       Johanna     Clark (via        U.S.   Mail)
                           PAYMENT       No       1    19   851530     J                                                     CLAIM    No   59-7X 6-846
                    PAYMENT       AMOUNT          *12,151.00                                                                LOSS   DATE    01-28- 01Û
                           ISSUE     DATE         08-11-2017                                                                POLICY    No   2327- 6-59F
                     AUTHORIZED          BY       BOLES,      LARRY                                                            INSURED     SOS,       THONY    & REBECCA
                                   PRONE          (855) 231-1590




                           ALSTON             &   BIRD
                           1201      W      PEACHTREE ST STE 4900
                           ATLANTA                GA    30309-3466




                    COVERAGE DESCRIPTION                                                   ON    BEHALF     OF                                                      AMOUNT
                    COLLISION                                                              SOS,   ANTHONY        &   REBECCA                                       12,151.00




                                                                  RETAIN STUB FOR RECORDS

***                   STATE              FARM           MUTUAL AUTOMOBILE                INSURANCE                   COMPANY                      i     1     19 851530                     3
                      TOTAL       LOSS                                                JPMORGAN    CHASE   BANK,        NA    56-1544/441          l




                                                                                      COLUMBUS,    OH

                                OFFICE                  PAGECNTO.P07
                                                                                                                                                                     08-11-2017
                                              -

                      TL    A                     DA

                                                                                                                                                            DATE     MM   DD      YYYY
 CLAIM         No     59-7X26-846                              INStJRED    SOS, ANTHONY & REBECCA
LOSS        DATE      01-28-2016


***EXACTLY TWELVE THOUSAND ONE                                              HUNDRED    FIFTY-ONE AND 00/100 DOLLARS
                                                                                                                                                             $****12,151.00

Pay    to    the
 Order of            ANTHONY                  SOS




                                                                                                                                                                     AUTHORIZED    SIGN   URE
